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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 08-81443-CV-HURLEY/HOPKINS


   SCS ALEXANDRE ET CIE d/b/a
   PRETTY YOU MONACO,
   a foreign corporation,

                            Plaintiff,

   vs.

   LANA MARKS LTD, INC.,
   a Florida Corporation,

                     Defendant.
   ________________________________________/

                                STIPULATED ORDER OF DISMISSAL

            The Parties, by and through their undersigned counsel, move for a dismissal with

   prejudice of the above styled case under the following terms:

         1. All of Plaintiff’s claims brought or which could have been brought in this action are

            hereby dismissed with prejudice.

         2. Each party shall bear its own respective attorney’s fees, costs, and expenses of this

            action.

 By: /s Phillip Dube                              By: /s John C. Dotterrer
    Phillip Dube, Esq.                                 John C. Dotterrer, Esq.
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 Attorneys for Pretty You Monaco                     Attorneys for Lana Marks Ltd., Inc.
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                                                 ORDER

          This action is hereby DISMISSED with prejudice. Each party shall bear its own

   respective attorney’s fees, costs, and expenses of this action.

          This Case, for statistical purposes, is CLOSED



          DONE and ORDERED this _____ day of ________________, 2010




                                                         ______________________________
                                                         Honorable Daniel T. K. Hurley
                                                         United States District Court Judge

   cc:       Honorable James M. Hopkins
             United State Magistrate Judge

             John C. Dotterrer, Esq.

             Phillip Dube, Esq.
